                                                                                        Case 3:22-cv-02718-SK Document 13 Filed 06/15/22 Page 1 of 4




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                                                                                 Attorneys for Specially Appearing PayPal, Inc.
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                                                                                                                UNITED STATES DISTRICT COURT
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                                                                                                              NORTHERN DISTRICT OF CALIFORNIA
                                                                               9
              SIDEMAN & BANCROFT LLP




                                                                              10 JOSEPHINE LEE,                                       Case No. 3:22-cv-02718-SK
                                       SAN FRANCISCO, CALIFORNIA 94111-3711
                                       ONE EMBARCADERO CENTER, 22ND FLOOR




                                                                              11 Plaintiff,
                                                                                                                                      STIPULATION OF STAY AS TO
                                                                              12 v.                                                   DEFENDANT PAYPAL, INC. ONLY
                                                                                                                                      PENDING ARBITRATION AND
                                                                              13 CITIGROUP CORPORATE HOLDINGS,                        PROPOSED ORDER
LAW OFFICES




                                                                                 INC. D/B/A CITIBANK, N.A. AND
                                                                              14 PAYPAL, INC.                                         Judge: Hon. Sallie Kim
                                                                              15 Defendants.

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                                                                                   11014-38\5100880v1                            1                     Case No. 3:222-cv-02718-SK
                                                                                                  STIPULATION AND PROPOSED ORDER TO STAY CASE PENDING ARBITRATION
                                                                                        Case 3:22-cv-02718-SK Document 13 Filed 06/15/22 Page 2 of 4




                                                                               1                             STIPULATION AND [PROPOSED] ORDER

                                                                               2            Plaintiff Josephine Lee, (“Lee”) and Defendant PayPal, Inc. (“PayPal”) (who makes a

                                                                               3 special appearance without waiving its rights to compel arbitration) (and together, “the Parties”),

                                                                               4 hereby stipulate as follows:

                                                                               5            WHEREAS, Lee filed the instant action on May 5, 2022 and served PayPal on May 12,

                                                                               6    2022;

                                                                               7            WHEREAS, Lee filed the First Amended Complaint on June 2, 2022 and served PayPal

                                                                               8    with that amended pleading on June 15, 2022;

                                                                               9            WHEREAS, Lee's dispute with PayPal relates to the use of PayPal’s services and the User
              SIDEMAN & BANCROFT LLP




                                                                              10    Agreement between the parties provides for arbitration of such claims with the American
                                       SAN FRANCISCO, CALIFORNIA 94111-3711
                                       ONE EMBARCADERO CENTER, 22ND FLOOR




                                                                              11    Arbitration Association;

                                                                              12            WHEREAS, the Parties, through counsel, have agreed to proceed with arbitration and to

                                                                              13    the stay of this case as to PayPal only pending the outcome of such arbitration;
LAW OFFICES




                                                                              14            WHEREFORE, PayPal and Lee stipulate as follows:

                                                                              15            Lee's case against PayPal will be stayed pending the outcome of arbitration as per the

                                                                              16 agreement between the parties.

                                                                              17            The Court will retain jurisdiction only to confirm the arbitration award and enter judgment

                                                                              18 for the purposes of enforcement.

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                                                                              21            IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

                                                                              22 DATED: June 15, 2022                         SIDEMAN & BANCROFT LLP

                                                                              23

                                                                              24
                                                                                                                              By: /s/ Lyndsey C. Heaton
                                                                              25                                                  Lyndsey C. Heaton
                                                                                                                                  Attorneys for PayPal, Inc.
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                                                                                   11014-38\5100880v1                            2                     Case No. 3:222-cv-02718-SK
                                                                                                  STIPULATION AND PROPOSED ORDER TO STAY CASE PENDING ARBITRATION
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                                                                               1 DATED: June 15, 2022                          ERIKA HEATH, ATTORNEY AT LAW

                                                                               2

                                                                               3
                                                                                                                               By: /s/ Erika Heath
                                                                               4                                                   Erika Heath
                                                                                                                                   Attorney for Plaintiff Josephine Lee
                                                                               5

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                                                                               7                                             ATTESTATION
                                                                               8            Pursuant to Civil Local Rule 5-1(i)(3) regarding signatures, I attest under penalty of
                                                                               9 perjury that I have obtained consent to file this document from every signatory above.
              SIDEMAN & BANCROFT LLP




                                                                              10 DATED: June 15, 2022                          SIDEMAN & BANCROFT LLP
                                       SAN FRANCISCO, CALIFORNIA 94111-3711
                                       ONE EMBARCADERO CENTER, 22ND FLOOR




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                                                                                                                               By: /s/ Lyndsey C. Heaton
                                                                              13                                                   Lyndsey C. Heaton
LAW OFFICES




                                                                                                                                   Attorneys for PayPal, Inc.
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                                                                               1 PURSUANT TO STIPULATION, IT IS SO ORDERED.

                                                                               2 Date:__________________                       ____________________________
                                                                                                                               Hon. Sallie Kim, USMJ
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LAW OFFICES




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                                                                                                  STIPULATION AND PROPOSED ORDER TO STAY CASE PENDING ARBITRATION
